                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF ALABAMA
                                     NORTHERN DIVISION

In the Matter of:                                                   § BK CASE NO. 18-82774-CRJ-13
                                                                    §
LINDA HILL                                                          § CHAPTER 13
SSN: XXX-XX-0768                                                    §
                                                                    §
         Debtor                                                     §
                                                                    §

LINDA HILL                        § AP CASE NO. 19-80011-CRJ-13
                                  §
    Plaintiff,                    §
                                  §
v.                                §
                                  §
BANK OF AMERICA and               §
CARRINGTON MORTGAGE SERVICES, LLC §
                                  §
    Defendants.                   §


                  DEFENDANT'S RESPONSE TO ORDER TO SHOW CAUSE

         Carrington Mortgage Services, L.L.C. ("Carrington"), through undersigned counsel,

hereby files this response to the Court's Order to Show Cause dated May 7, 2019 [ECF No. 30]

(the "Order").1

                                                INTRODUCTION

         Carrington does not contest this Court's authority to enter an order awarding punitive

damages pursuant to 11 U.S.C. §362(k) of the Bankruptcy Code if the Plaintiff meets her burden

of proving that she was injured by a willful violation of the automatic stay. Contemporaneously

with the filing of this response, Carrington is filing an Amended Answer to Debtor's Amended



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 At the time of the filing of the answers which are the subject of the Court's Order, the undersigned counsel represented
both Carrington and Defendant Bank of America ("BOA"). Prior to the entry of the Order, the Court granted a Joint
Motion to Substitute Counsel [ECF No. 25] which allowed Kevin C. Gray to be substituted for Christopher A. Bottcher
and Michael B. Odom as counsel for BOA.




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Complaint (the "Amended Answer"). In the Amended Answer, Carrington has either omitted or

amended Affirmative Defenses 12 through 40 in ECF No. 19 in an effort to make clear that it is

not challenging this Court's authority to enter an order awarding punitive damages if the Plaintiff

meets her burden of proof and that Carrington is entitled to certain Constitutional protections in

the event punitive damages are awarded. The relevant defenses in the Amended Answer are

Affirmative Defenses 12 through 16.

                                          DISCUSSION

1.      Defendants' Answer Was Filed in Good Faith

        When the undersigned filed the Answer to Debtor's Amended Complaint [ECF No. 19] on

behalf of both Defendants and omitted the Forty-First Affirmative Defense, it was done with the

intention of withdrawing any claim that the Court lacked the authority to enter an order awarding

punitive damages. Affirmative Defenses 12 through 40 in ECF No. 19 were intended only to raise

and maintain Constitutional safeguards relating to punitive damages that have been recognized by

the courts, and will be discussed below, and were not meant as an extension of the omitted Forty-

First Affirmative Defense.

2.      Affirmative Defenses 12-40 Were Warranted by Existing Law

        Affirmative Defenses 12 through 40 in ECF No. 19 were intended only to raise defenses

related to recognized Constitutional safeguards pertaining to the appropriateness of the award of

punitive damages in a particular case based on the facts, and not to challenge this Court's authority

to award punitive damages. It is widely recognized that in determining whether a punitive damage

award is appropriate, courts should apply the "guideposts" posited by the Supreme Court in BMW

of N. Amer., Inc. v. Gore, 517 U.S. 559, 134 L. Ed. 2d 809, 116 S. Ct. 1589 (1996). See, e.g., In

re Quinones Ocasio, 272 B.R. 815, 825 (2002). Pursuant to the guideposts, a court reviewing the

appropriateness of a punitive damages award must evaluate the reprehensibility of the conduct; the

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ratio between the compensatory and punitive damages; and the difference between the punitive

damage award and the civil penalties imposed for comparable conduct.

        In addition, the United States District Court for the Middle District of Alabama has

recognized that an award of punitive damages may be excessive and potentially in violation of the

Fourteenth Amendment of the United States Constitution. In Cent. Miss. Credit Corp. v. Vaughn,

555 B.R. 803 (2016), the District Court vacated an award of punitive damages of $50,000.00 where

actual compensatory damages were only $1,500.00. In doing so, the District Court recognized:

        The amount of punitive damages a court may award, however, is limited by the Due
        Process Clause of the Fourteenth Amendment, which prohibits "grossly excessive
        or arbitrary punishments," and the Supreme Court has advised reviewing courts, in
        determining whether punitive damages are excessive, to consider, "(1) the degree
        of reprehensibility of the defendant's misconduct; (2) the disparity between the
        actual or potential harm suffered by the plaintiff and the punitive damages awarded;
        and (3) the difference between the punitive damages awarded . . . and the civil
        penalties authorized or imposed in comparable cases."

555 B.R. 803 at 816-17 (quoting State Farm Mut. Auto Ins. Co. v. Campbell, 538 U.S. 408, 416,

123 S. Ct. 1513, 155 L. Ed. 2d 585 (2003).

        Affirmative Defenses 12 through 40 in ECF No. 19 were asserted in good faith to protect

the Defendants' Constitutional rights as set forth in the cases cited above.

                                         CONCLUSION

        By omitting the Forty-First Affirmative Defense from ECF No. 19, the undersigned

intended to withdraw any contention that this Court lacks the authority to enter an order awarding

punitive damages. Any inference to the contrary from ECF No. 19 was not intentional. The

Amended Answer, and specifically Affirmative Defenses 12 through 16 contained therein, is

intended to make clear that Carrington does not challenge this Court's authority to award punitive

damages, but Carrington does assert that it is entitled to certain Constitutional safeguards in the

event punitive damages are awarded.


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        Respectfully submitted, this 29th day of May, 2019.

                                              /s/ Christopher A. Bottcher
                                              Christopher A. Bottcher (BOT003)
                                              Michael B. Odom (ODO012)
                                              Attorneys for Carrington Mortgage Services, LLC

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                                   CERTIFICATE OF SERVICE

      I hereby certify that I filed the foregoing with the Clerk of the Court electronically through
the CM/ECF system on May 29, 2019, which will send notification of this filing to the following:

John C. Larsen
Larsen Law P.C.
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Huntsville, AL 35811
                                                     /S/ Christopher A. Bottcher
                                                     Christopher A. Bottcher




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